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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                        CASE NO: 2:14-cr-20-FtM-29CM

JAMES G. HOOD


                                       ORDER

        This matter comes before the Court on Defendant James Hood's

Motion to Revoke Detention Order (Doc. #102) filed on August 23,

2014.     Defendant caused the transcript of the detention hearing

(Doc. #114) to be filed on September 18, 2014, and filed a

Supplement (Doc. #116) on September 22, 2014.                 The government

filed a Response (Doc. #117) on September 29, 2014.

      The Superseding Indictment (Doc. #31) charges defendant James

G. Hood with conspiracy to possess with intent to distribute

cocaine, 28 grams or more of cocaine base, and heroin from 2004

through the fall of 2013 (Count One); possession with intent to

distribute cocaine on or about May 31, 2013 (Count Two); and

possession with intent to distribute cocaine on or about July 3,

2013 (Count Three).           After a detention hearing, the magistrate

judge    filed   an   Order    (Doc.   #88)    finding   defendant   should   be

detained without bond pending trial.

      The Court has read the transcript of the detention hearing,

and the Pretrial Services Report and its Addendum submitted to the
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magistrate judge, as well as the filings by the parties.                  The

matter is before the Court pursuant to 18 U.S.C. § 3145, and the

Court conducts an independent de novo review to determine whether

the magistrate judge properly found that pretrial detention was

necessary.     United States v. King, 849 F.2d 485, 490 (11th Cir.

1988).

      The   Superseding   Indictment    establishes    probable   cause   to

believe defendant committed a drug offense for which the rebuttable

presumption of 18 U.S.C. § 3142(e)(3) applies.         All three offenses

alleged against defendant are serious drug offenses, and Count Two

carries a mandatory minimum penalty of five years imprisonment.

The government has proffered significant evidence in support of

the Indictment allegations.        Defendant’s prior criminal history

includes numerous arrests and, more importantly, convictions for

misdemeanor possession of marijuana under twenty grams in 2005;

smuggling contraband into a detention facility and possession of

under twenty grams of marijuana in 2010; fraud and grand theft in

2010; and 42 civil traffic infractions or municipal ordinance

violations.    Defendant has used controlled substances for a number

of years.    Defendant lied to Pretrial Services during his initial

interview about his drug use, asserting he had recently used only

marijuana but tested positive for both marijuana and cocaine.

Defendant is a life-long resident of Fort Myers, Florida, and

estimates he has “about fifteen” children from “about eight”



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different relationships.       He is currently in a relationship with

a woman who is willing to serve as third party custodian and allow

defendant to reside with her.       Defendant reports that he has been

self-employed for the last eight years in the pressure washing

business, from which he earns $300-$400 per month.               Defendant

reports minimal assets and minimal expenses, other than delinquent

child support payments.         After being indicted, and after the

arrest of a co-defendant, defendant left the Fort Myers area and

was arrested in Tampa, actions which are consistent with flight to

avoid arrest.

      The   Court   finds    that   defendant    has   not   rebutted   the

presumption that there is no condition or combination of conditions

available to reasonably assure that defendant is not a risk of

flight or a danger to the community.            Therefore, the detention

order is affirmed.

      Accordingly, it is hereby

      ORDERED:

      Defendant's Motion to Revoke Detention (Doc. #102) is DENIED.

      DONE and ORDERED at Fort Myers, Florida, this             30th    day

of September, 2014.




Copies:
Counsel of Record




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